     Case 4:23-cv-00934 Document 28 Filed on 02/12/24 in TXSD Page 1 of 3



              IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF TEXAS
                        HOUSTON DIVISION
SHYSHA LEWIS,                  §
                               §
                               §
         Plaintiff,            §
                               §     CIVIL ACTION NO. 4:23-cv-
v.                             §     00934
                               §
WELLS FARGO BANK, N.A.         §
                               §
         Defendant.            §

                         JOINT MEDIATION STATUS REPORT

          Pursuant to Section 17(c) of the Court’s Procedures and the Scheduling and Docket

Control Order (Doc. No. 13), Plaintiff Shysha Lewis (“Lewis”) and Defendant Wells Fargo

Bank, N.A. (“Wells Fargo”) (collectively, the “Parties”) file this Joint Mediation Status

report.

          1.    The Parties mediated this matter before Judge John Wooldridge on February

9, 2024, via Zoom in a scheduled half-day mediation session.

          2.    Lewis and her counsel appeared and participated in mediation. Wells Fargo

appeared through its company representative and attorney and participated in mediation.

          3.    The Parties were unable to reach a settlement, and the mediator declared an

impasse.




JOINT MEDIATION STATUS REPORT                                                       PAGE 1
     Case 4:23-cv-00934 Document 28 Filed on 02/12/24 in TXSD Page 2 of 3



                                    Respectfully submitted,

                                    /s/ Helen O. Turner
                                    Robert T. Mowrey – Attorney-in-Charge
                                    Texas Bar No. 14607500
                                    S.D. Texas Bar No. 9529
                                    rmowrey@lockelord.com
                                    LOCKE LORD LLP
                                    2200 Ross Avenue, Suite 2800
                                    Dallas, Texas 75201-6776
                                    Telephone: (214) 740-8000
                                    Facsimile: (214) 740-8800

                                    B. David L. Foster
                                    Texas Bar No. 24031555
                                    S. D. Texas Bar No. 35961
                                    dfoster@lockelord.com
                                    LOCKE LORD LLP
                                    300 Colorado Street, Suite 2100
                                    Austin, Texas 78701
                                    Telephone: (512) 305-4700
                                    Facsimile: (512) 305-4800

                                    Helen O. Turner
                                    Texas Bar No. 24094229
                                    S. D. Texas Bar No. 29424121
                                    helen.turner@lockelord.com
                                    LOCKE LORD LLP
                                    600 Travis Street, Suite 2800
                                    Houston, Texas 77002
                                    Telephone: (214) 226-1280
                                    Facsimile: (713) 229-2501

                                    COUNSEL FOR DEFENDANT

                                    -AND-




JOINT MEDIATION STATUS REPORT                                          PAGE 2
     Case 4:23-cv-00934 Document 28 Filed on 02/12/24 in TXSD Page 3 of 3



                                          /s/Jeffrey C. Jackson w/ permission
                                          Jeffrey C. Jackson
                                          jeff@jjacksonllp.com
                                          JEFFREY JACKSON & ASSOCIATES, PLLC
                                          2500 E. TC Jester Blvd., Suite 285
                                          Houston, Texas 77008
                                          Telephone: (713) 861-8833
                                          Facsimile: (713) 682-8866

                                          COUNSEL FOR PLAINTIFF




                               CERTIFICATE OF SERVICE

       I hereby certify that on this 12th day of February, 2024, a true and correct copy of
the foregoing instrument was served on the following counsel of record via ECF and/or
email according to the Federal Rules of Civil Procedure:

       Jeffrey C. Jackson
       jeff@jjacksonllp.com
       JEFFREY JACKSON & ASSOCIATES, PLLC
       2500 E. TC Jester Blvd., Suite 285
       Houston, Texas 77008
       Telephone: (713) 861-8833
       Facsimile: (713) 682-8866

       Counsel for Plaintiff


                                          /s/ Helen O. Turner
                                          Counsel for Defendant




JOINT MEDIATION STATUS REPORT                                                       PAGE 3
